






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00608-CV






John King, Appellant



v.



Texas Department of Human Services, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 98TH JUDICIAL DISTRICT


NO. 97-03552, HONORABLE LORA J. LIVINGSTON, JUDGE PRESIDING 






	On October 26, 2001, appellant John King filed a notice of appeal.  On November
2, this Court requested that appellant pay his filing fees.  On December 11, the clerk's record was
overdue, appellant still had not paid his filing fees, and this Court requested that appellant submit
a letter regarding the status of his appeal.  On December 19, appellant's attorney informed the Court
by letter that appellant no longer wants to prosecute an appeal.  

	The appeal is dismissed for want of prosecution.  


						___________________________________

						Bea Ann Smith, Justice

Before Chief Justice Aboussie, Justices B. A. Smith and Puryear

Dismissed For Want of Prosecution

Filed:   January 10, 2002

Do Not Publish 


